            Case 3:23-cr-00671-DCG Document 18 Filed 04/14/23 Page 1 of 11




                      UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                              EL PASO DIVISION


UNITED STATES OF AMERICA                      §
Plaintiff                                     §
                                              §
VS                                            §   No: EP:23-CR-00671(1)-DCG
                                              §
(1) Lorena Moreno                             §
Defendant                                     §

             STANDING DISCOVERY, PRETRIAL AND TRIAL ORDER

      Pursuant to Rule 5(f) of the Federal Rules of Criminal Procedure, as amended
by the Due Process Protections Act, Pub. L. No. 116 182, 134 Stat. 894 (Oct. 21,
2020), the Court hereby kindly reminds the United States of America (the
Government) of its obligation to comply with its disclosure obligations under Brady
v. Maryland, 373 U.S. 83 (1963), its progeny, and the Federal Rules of Criminal
Procedure. See Brady, 373 U.S. at 87 (holding that due process requires government
disclosure of “evidence [that] is material either to guilt or to punishment”).

       By law, the Government has a continuing obligation to disclose any
exculpatory evidence to the Defendant and to learn of any such evidence known to
others acting on the Government’s behalf, including law enforcement. See Kyles v.
Whitley, 514 U.S. 419, 437-38 (1995). The Government’s disclosure obligations apply
even when the Defendant has not requested any exculpatory evidence from the
Government. See United States v. Agurs, 427 U.S. 97, 107 (1976). These obligations
to provide exculpatory evidence in a timely manner are not diminished by the fact
that such evidence also constitutes evidence that must be produced later pursuant
to the Jencks Act, 18 U.S.C. § 3500, or by the fact that such evidence need not be
produced according to Rule 16. See United States v. Campagnuolo, 592 F.2d 852,
860–62 (5th Cir.1979); see also Advisory Committee Note to Fed. R. Crim. P. 16
(1974) (“The rule is intended to prescribe the minimum amount of discovery to which
the parties are entitled.”). If the Government identifies any evidence which it believes
to be exculpatory or favorable to the Defendant but not material, the Government
shall submit such information to the Court for in camera review.

       The Court also reminds the Government of the possible consequences of
violating any of its disclosure obligations, which may include, but are not necessarily
limited to, the delay of trial or other proceedings, the exclusion of evidence, the
giving of adverse jury instructions, the grant of new trial, the dismissal of an action,
or a finding of contempt.
                Case 3:23-cr-00671-DCG Document 18 Filed 04/14/23 Page 2 of 11




      Further, in an effort to efficiently manage the Court’s crowded docket, and in
order to expedite discovery and bring about full readiness for trial within the
meaning of the Speedy Trial Act, 18 U.S.C. §§ 3161, et seq., the following orders are
entered:

    IT IS HEREBY ORDERED that the parties confer and accomplish the following
WITHIN the time periods set out below in Paragraphs I–IX.

     I.   NO LATER THAN FOURTEEN DAYS FROM THE ENTRY OF THIS ORDER

A.        The Government shall permit the Defendant to inspect and copy the following
          items or copies thereof, or supply copies thereof which are within the
          possession, custody or control of the Government, the existence of which is
          known, or by the exercise of diligence may become known to the Government:

          (1)      The substance of any oral statement made by the Defendant before or
                   after his or her arrest in response to interrogation by a person then
                   known to be a Government agent which the Government intends to
                   offer into evidence at trial. See Fed. R. Crim. P. 16(a)(1)(A).
          (2)      Any written or recorded statements made by the Defendant. See Fed. R.
                   Crim. P. 16(a)(1)(B).
          (3)      The Defendant’s Federal Bureau of Investigation arrest record to
                   include all prior felony convictions and misdemeanor convictions
                   involving moral turpitude which the Government intends to use for
                   impeachment of the Defendant at trial. See Fed. R. Crim. P. 16(a)(1)(D).
          (4)      The Federal Bureau of Investigation arrest record of any Government
                   witness, which shall include all prior felony convictions and
                   misdemeanor convictions of moral turpitude, and all arrests and
                   charging instruments of a Government witness which were in existence
                   or occurred at or after the time of the alleged offense in this case or any
                   other part of the criminal record of a Government witness which may
                   show bias of the witness or motive as to why the witness would testify
                   in the manner testified to at trial. See Davis v. Alaska, 415 U.S. 308
                   (1974).
          (5)      Books, papers, documents, photographs, tangible objects, buildings or
                   places which the Government intends to use as evidence at trial in its
                   case-in-chief, or which were obtained from or belong to the Defendant.
                   See Fed. R. Crim. P. 16(a)(1)(E).
          (6)      Results of reports of physical or mental examination and of scientific
                   tests or experiments made in connection with this case. See Fed. R.
                   Crim. P. 16(a)(1)(F).
          (7)      A written summary, describing the witness’s opinions, the bases and
           Case 3:23-cr-00671-DCG Document 18 Filed 04/14/23 Page 3 of 11




                 reasons for those opinions, and the witness’s qualifications, of the
                 testimony of any expert witness that the Government intends to use at
                 trial in its case-in-chief and any facts or data upon which any such
                 expert’s opinion testimony is based. See Fed. R. Crim. P. 16(a)(1)(G);
                 Fed. R. Evid. 705.

B.   The Defendant shall permit the Government to inspect and copy the following
     items or copies thereof, or supply copies thereof which are within the
     possession, custody or control of the Defendant the existence of which is
     known or by the exercise of diligence may become known to the Defendant:

     (1)         Books, papers, documents, photographs, or tangible objects which the
                 Defendant intends to use as evidence in its case-in-chief at trial. See
                 Fed. R. Crim. P. 16(b)(1)(A).
     (2)         Results of reports of physical or mental examinations, and of scientific
                 tests or experiments, made in connection with this case, which the
                 Defendant intends to use as evidence in its case-in-chief at trial or
                 which were prepared by a defense witness who will testify concerning
                 the contents thereof. See Fed. R. Crim. P. 16(b)(1)(B).
     (3)         A written summary (describing the witness’s opinions, the bases and
                 reasons for those opinions, and the witness’s qualifications) of the
                 testimony of any expert witness that the Defendant intends to use at
                 trial and any facts or data upon which any such expert’s opinion
                 testimony is based. See Fed. R. Crim. P. 16(b)(1)(C); Fed. R. Evid. 705.

C.   If the Defendant intends to rely upon the defense of insanity at the time of the
     alleged crime or intends to introduce expert testimony relating to a mental
     disease, defect or other condition bearing on the issue of whether he or she
     had the mental state required for the offense charged, he or she shall give
     written notice to the Government. See Fed. R. Crim. P. 12.2(a).

D.   If the Defendant intends to assert a Public Authority Defense, he or she must
     give notice to the Government. See Fed. R. Crim. P. 12.3.

           II.     NO LATER THAN TWENTY-ONE DAYS PRIOR TO TRIAL

A.   If the Government intends to offer evidence that the Defendant, in a sexual
     assault case, committed any extraneous sexual assault it must disclose its
     intent to the Defendant and include a summary of the expected testimony. See
     Fed. R. Evid. 413(a)-(b).

B.   If the Government intends to offer evidence that the Defendant, in a child
     molestation case, committed any extraneous child molestation it must disclose
             Case 3:23-cr-00671-DCG Document 18 Filed 04/14/23 Page 4 of 11




       its intent to the Defendant and include a summary of the expected testimony.
       See Fed. R. Evid. 414(a)-(b).

C.     The Government shall reveal to the Defendant and permit inspection and
       copying of all information and materials known to the Government which may
       be favorable to the Defendant on the issues of guilt or punishment within the
       scope of Brady v. Maryland, 373 U.S. 83 (1963), or which tends to impeach the
       Government witnesses.

D.     The Government shall state whether the Defendant was the subject of any
       electronic surveillance and if so, shall furnish to the Defendant for inspection
       and copying any recordings or videotapes thereof which may be offered into
       evidence at trial. (18 USC § 2518(9))

E.     The Government shall disclose to the Defendant the existence and substance
       of any payments or promises of immunity, leniency, or preferential treatment
       made to prospective Government witnesses within the scope of Giglio v. United
       States, 405 U.S. 150 (1972) and Napue v. Illinois, 360 U.S. 264 (1959).

F.     The Government shall provide written notice of its intent to use at trial
       evidence of any crimes, wrongs, or other acts to include the general nature of
       any such evidence, the date and location of the occurrence, the name of the
       alleged victim and the court and cause number if any. See Fed. R. Evid. 404(b).

G.     The proponent of any prior conviction used for impeachment, where more than
       10 years have passed from the date of conviction or release from confinement
       for such conviction, must give written notice to the adverse party of its
       intention to use such conviction. See Fed. R. Evid. 609(b)(2).

H.     The proponent of any “Residual Hearsay” must give the adverse party notice of
       its intention to offer hearsay that is not covered by any other exception and
       meets the requirements of the Residual Hearsay Exception. See Fed. R. Evid.
       807(b).

I.     A party, by Motion, shall give notice of its intent to offer evidence of the
       victim’s sexual behavior. See Fed. R. Evid. 412.

      III.      NO LATER THAN 15 DAYS PRIOR TO TRIAL-NOTICE OF PLEA

        Defense counsel must notify the Court’s deputy clerk of the Defendant’s
 intention to plead guilty. At that time, defense attorneys must also secure a
 setting for a plea hearing. Upon securing a plea hearing, remaining obligations
         Case 3:23-cr-00671-DCG Document 18 Filed 04/14/23 Page 5 of 11




under this order will be suspended. Defendants who fail to comply with this
requirement may not receive adjustments to their sentencing guidelines based on
acceptance of responsibility or be granted a continuance. Moreover, the Court may
not recognize any plea agreements into which the parties enter after the deadline.
Instead, Defendants may be required to plead guilty to all counts of the indictment
or proceed to trial. See United States v. Ellis, 547 F.2d 863 (5th Cir. 1977). The
failure to prepare for trial because counsel believed the case would plea will not be
adequate grounds for a continuance.

               IV.    NO LATER THAN 14 DAYS PRIOR TO TRIAL

A.     Joint Proposed Jury Charge
      Parties shall meet and confer and file a joint proposed jury charge and verdict
      forms consistent with the guidelines in this section. Upon filing, the parties
      shall promptly email the Microsoft Word file, containing the joint proposed jury
      charge as filed, to David_Guaderrama@txwd.uscourts.gov. (the email’s subject
      line must include the case number and the text “Joint Proposed Jury Charge”).
      The parties shall submit the full text and cite to specific sections of the Fifth
      Circuit Pattern Jury Charge (meaning the corresponding section number, e.g.,
      1.04) as well as the full text and citation to any non-Fifth Circuit Pattern Jury
      Charge section that the parties propose that the Court consider. If the parties
      disagree on a specific charge, each party shall provide the full text of their
      respective proposed charge, denoting the parties’ name and highlighting those
      portions of the charge about which the parties disagree. If a specific charge is
      proposed by only one party, that party shall provide the full text of the
      proposed charge, denoting its name, and the other party shall include the
      nature of its objection, if any, to the proposed charge.

B.    Proposed Voir Dire Questions and Case Summary
      The parties shall submit a list of questions each party desires the Court to ask
      the prospective jurors during voir dire. In addition, the parties shall jointly
      submit a short summary of the case to be read by the Court to the panel to
      determine if anyone has heard anything about the case. After the Court
      concludes questioning the prospective jurors, each party will be allotted ten
      (10) minutes to ask any additional questions.

C.    Joint Admissibility of Exhibits
      A joint exhibit list shall be filed. The Court orders that the parties confer and
      discuss the admissibility of their exhibits. The joint exhibit list shall identify
      any objections to the exhibits designated by the other party as well as identify
      the exhibits that the parties agree upon. Any exhibits that are not jointly
      agreed upon by the parties will be addressed at the pretrial conference.
          Case 3:23-cr-00671-DCG Document 18 Filed 04/14/23 Page 6 of 11




D.     Joint Motion in Limine
       The parties will submit a joint motion in limine but only after the parties confer
       and discuss the parties’ individual motion(s), if any. The joint motion in limine
       shall identify the items that are jointly agreed upon by the parties and the
       items that are objected to or not agreed upon by the parties, along with any
       corresponding objections. Any items therein that are not jointly agreed upon
       by the parties will be addressed at the pretrial conference.

E.     Asset Forfeiture
       If the Government’s indictment or information contains notice to the
       Defendant that the government will seek the forfeiture of property as part of
       any sentence, each party must notify the Court if that party wishes that the
       jury be retained to determine the forfeitability of specific property. In the event
       either party elects to submit the issue of forfeitability to the jury, the parties
       must submit a joint proposed jury charge on forfeiture that is compliant with
       the instructions set forth in Paragraph A of this section and a joint proposed
       special verdict form. If neither party requests that the jury be retained to
       determine the issue of forfeitability, the parties must indicate to the Court if
       the forfeiture action is contested and a hearing is desired. If a hearing on the
       issue of forfeitability is desired, the Court will set the matter for a hearing to be
       held immediately after a verdict or finding of guilt.

F.     Other Filings
       Parties shall file any matters of evidentiary concern and identify and brief any
       unusual evidentiary or non-evidentiary issues that may arise in the trial of this
       case. Parties shall confer before filing any of these matters. The Government
       and Defense counsel shall submit for the Court’s in-camera review any
       designated documents or materials.

                   V.    NO LATER THAN 10 DAYS PRIOR TO TRIAL

       This case is set for a Final Judge’s Conference where any pending matters or
issues, including Lafler-Frye plea disclosures, will be addressed by the Court on the
record.

             VI.        NO LATER THAN THREE DAYS PRIOR TO TRIAL

      Any need for an interpreter, for a defendant or a witness for the defense,
should be communicated to Courtroom Deputy Roberto Velez, (915) 834-0538, no
later than three (3) days prior to the court setting wherein the interpreter will be
required.
        Case 3:23-cr-00671-DCG Document 18 Filed 04/14/23 Page 7 of 11




                 VII.    VOIR DIRE AND THE DAY OF TRIAL

A.   Photographs of Witnesses at Voir Dire
     Parties shall prepare digital photographs of the witnesses who are involved in
     the trial. When the Court introduces counsel to the jury panel, counsel will
     then display the photographs to the jury panel.          The purpose of the
     photographs is “to put a face to the name.” In other words, it provides an
     opportunity to inquire as to whether any of the jurors know or recognize any of
     the witnesses who are involved in the present case. The photographs do not
     need to be electronically submitted, but they must be accessible to counsel at
     the time of jury selection. If either side wishes to avoid presenting the
     photograph of a witness to the jury panel, counsel must have the witness in
     the courtroom at the time the Court calls for the introduction of witnesses,
     otherwise the introduction will be by photograph.

B.   Juror Information and Sheets
     Electronic or paper juror information or juror sheets provided to counsel for
     purposes of Voir Dire are NOT to be provided to any Defendant or anyone else
     not on counsel’s trial team. Any written juror information provided by the
     Court is ordered returned to the Court and any electronic juror information is
     ordered deleted at the time the jury is seated and sworn.

C.   Availability and Examination of Witnesses
     Upon announcement of ready for trial counsel indicate to the Court their
     preparedness for trial including the availability of any witness counsel intends
     to call to testify. All witnesses need to be available when needed and no delay
     will be tolerated for witnesses who are not immediately available. The Court
     reminds counsel that witnesses are to be addressed only with questions.
     Counsel should refrain from engaging in any prefatory discussions introducing
     themselves to the witness, instructing the witness how to respond to questions
     the witness does not understand, or explaining how the examination will
     proceed. Should a witness become uncooperative or refuse to appropriately
     answer a question, the Court will, upon request of counsel, admonish the
     witness. Any such admonishment, however, should come exclusively from the
     Court and not from counsel.

D.   Witness’s Grand Jury Testimony
     If the Government intends to call a witness, who testified before a Grand Jury
     in this or a related case, the Government shall have prepared a transcript of
     such witness’s Grand Jury testimony and provide it to defense counsel at the
     conclusion of the witness’s trial testimony. See Fed. R. Crim. 6, 16(a)(3); 18
     U.S.C. § 3500(e)(3).
         Case 3:23-cr-00671-DCG Document 18 Filed 04/14/23 Page 8 of 11




E.    Exhibits
      Exhibits should be presented using the courtroom evidence presentation
      equipment by means of the document camera in the courtroom and/or your
      personal laptop computer. The Court uses the software application known as
      JERS (Jury Evidence Recording System) in the courtroom. This application
      works in conjunction with the courtroom evidence presentation equipment by
      allowing the Court to capture and release to the jury admitted evidence that is
      presented by attorneys during a jury trial. Upon completion of evidence
      presentation by the parties, the Court will release the admitted exhibits to the
      jurors in the jury deliberation room where they can view the admitted exhibits
      using a touch screen monitor.           Counsel should submit all exhibits
      electronically, by thumb drive, CD, email, or other electronic media, prior to
      the start of jury selection. Please refer to the attached JERS Exhibit
      Submission Requirements document as a reference on how your exhibit files
      should be formatted to allow for an electronic batch import of these exhibits.

F.    Individuals Allowed at Counsel Table
      Only counsel involved in the case, all named parties, and one representative
      employee of a legal entity named as a party will be allowed beyond the bar at
      counsel tables. Any other members of the legal team, who are not subject to
      “The Rule”, will be required to sit in the gallery behind the bar and allowed into
      the bar area only as required and by prior authorization of the Court.

                       VIII.   SENTENCE AND DETENTION

      Defense counsel should prepare his or her client for immediate surrender
into the custody of the United States Marshal, as required by 18 U.S.C. §
3143(a)(2), at the time of the entry of a finding of guilt in any case described in 18
U.S.C. § 3142(f)(1)(A), (B), or (C). See United States v. Posada, 109 F.Supp.3d 911
(W.D.Tex. 2015).

                        IX.    MISCELLANEOUS MATTERS

       IT IS FINALLY ORDERED that it shall be the continuing duty of counsel
for both sides to reveal to opposing counsel all newly discovered information or
other material within the scope of this Standing Order, see Fed. R. Crim. P. 16(c),
and that:

A.    The Court may at any time, upon motion properly filed or on its own motion,
      order that the discovery or inspection provided for by this Standing Order be
      denied, restricted or deferred, or make such other order as is appropriate. The
      Court expects, however, that counsel for both sides shall make every good faith
      effort to comply with the letter and the spirit of this Standing Order. See Fed.
         Case 3:23-cr-00671-DCG Document 18 Filed 04/14/23 Page 9 of 11




      R. Crim. P. 16(d)(1).

B.    All motions concerning matters not covered by this Standing Order must be
      filed within fourteen days of arraignment or waiver of arraignment. See Fed. R.
      Crim. P. 12(c)(1); Local Rule CR-12. Any motion filed must be agreed to and
      so indicated in the motion or set for a hearing.

C.    Counsel shall immediately notify the Court in writing of the reasons for failure
      to comply with this Standing Order at such time as the failure occurs.
      FAILURE TO COMPLY WITH ALL THE TERMS OF THIS ORDER MAY
      RESULT IN THOSE MATERIALS NOT DISCLOSED AS SET FORTH ABOVE
      BEING PRESUMED INADMISSIBLE. FAILURE TO COMPLY MAY ALSO
      RESULT IN DISMISSAL OF THE CASE. See Fed. R. Crim. P. 16(d)(2).

In an attempt to prevent ex parte communications with the court, counsel are
advised that unsolicited correspondence to the court, including that from any
defendant, will be filed and made of public record. Counsel are encouraged to
advise their client, their clients family and friends of this policy.


     Signed this the 14th day of April, 2023.




                                  ______________________________
                                  DAVID C. GUADERRAMA
                                  UNITED STATES DISTRICT JUDGE
Case 3:23-cr-00671-DCG Document 18 Filed 04/14/23 Page 10 of 11
Case 3:23-cr-00671-DCG Document 18 Filed 04/14/23 Page 11 of 11
